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 08/02/2023
                                    UNITED STATES JUDICIAL PANEL
                                                 on                                        08/02/2023
                                     MULTIDISTRICT LITIGATION



 IN RE: REALPAGE, INC., RENTAL SOFTWARE
 ANTITRUST LITIGATION (NO. II)                                                                    MDL No. 3071



                                        (SEE ATTACHED SCHEDULE)



                              CONDITIONAL TRANSFER ORDER (CTO −4)



 On April 10, 2023, the Panel transferred 20 civil action(s) to the United States District Court for the Middle
 District of Tennessee for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. § 1407. See
 _F.Supp.3d_ (J.P.M.L. 2023). Since that time, 14 additional action(s) have been transferred to the Middle
 District of Tennessee. With the consent of that court, all such actions have been assigned to the Honorable
 Waverly D. Crenshaw, Jr.

 It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
 actions previously transferred to the Middle District of Tennessee and assigned to Judge Crenshaw.

 Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
 the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the Middle District of
 Tennessee for the reasons stated in the order of April 10, 2023, and, with the consent of that court, assigned
 to the Honorable Waverly D. Crenshaw, Jr.

 This order does not become effective until it is filed in the Office of the Clerk of the United States District
 Court for the Middle District of Tennessee. The transmittal of this order to said Clerk shall be stayed 7 days
 from the entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this 7−day
 period, the stay will be continued until further order of the Panel.



                                                            FOR THE PANEL:



     Aug 02, 2023
                                                            Tiffaney D. Pete
                                                            Clerk of the Panel




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 IN RE: REALPAGE, INC., RENTAL SOFTWARE
 ANTITRUST LITIGATION (NO. II)                                              MDL No. 3071



                      SCHEDULE CTO−4 − TAG−ALONG ACTIONS



   DIST       DIV.      C.A.NO.     CASE CAPTION


 COLORADO

    CO         1       23−01832     Dempsey et al v. Realpage, Inc. et al




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